        Case 4:05-cr-00305-SWW Document 1300 Filed 09/20/13 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


UNITED STATES OF AMERICA                                                      PLAINTIFF

vs.                              NO. 4:05CR00305-031 SWW

FREDERICK W. ROBINSON                                                         DEFENDANT

                                              ORDER

       The above entitled cause came on for hearing September 19, 2013 on government’s motion

to revoke the supervised release previously granted this defendant in the United States District Court

for the Eastern District of Arkansas. Based upon the admissions of defendant and testimony of

witnesses, the Court found that defendant has violated the conditions of his supervised release

without just cause.

       IT IS THEREFORE ORDERED AND ADJUDGED that the supervised release previously

granted this defendant, be, and it is hereby, revoked, granting government’s motion [doc #1259].

Defendant shall serve a term of imprisonment of TWELVE (12) MONTHS + ONE (1) DAY in the

custody of the Bureau of Prisons. The Court recommends that defendant be incarcerated in

Texarkana, Texas, that defendant participate in a substance abuse treatment program, mental

health counseling and grief counseling during incarceration.

       There will be NO supervised release to follow.

       Defendant remanded to the custody of the United States Marshal.

       IT IS SO ORDERED this 20th day of September 2013.

                                                      /s/Susan Webber Wright

                                                      United States District Judge
